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                                                   U. S. OSTFCT COURT
                 IN THE UNITED STATES DISTRICT COURT             WV.
                    THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION      2U1MM 18 PM L:53

UNITED STATES OF AMERICA                              CL                    -

V   .                                         CASE NO. CR415-204-3

TIMECKA GREEN,

        Defendant.


                                  ORDER

        Before the Court is Defendant's Motion in Limine. (Doc.

85.) In the motion, Defendant requests that the Court allow the

introduction of Larron Bruce's prior convictions for the purpose

of impeachment. (Id. at 85.) Larron Bruce was Defendant's co-

defendant and may be called to testify at trial. For the

following reasons, Defendant's motion (Doc. 85.) is GRANTED.

        Larron Bruce was indicted along with Defendant and has

since pled guilty to one count of conspiracy to possess with

intent to distribute a mixture and substance containing a

detectable amount of cocaine and cocaine base, and conspiracy to

manufacture cocaine base. Defendant has requested that the Court

allow the introduction of several prior misdemeanor and felony

convictions. These convictions include

        (1) a February 15, 2000 misdemeanor conviction for
            the false report of a crime;

        (2) three June 13, 2000 misdemeanor convictions for
            giving false information to a law officer,
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          obstruction of a law enforcement officer, and
          criminal trespass; '

     (3) two September 28, 2001 felony convictions for
         possession of cocaine with intent to distribute
         and possession of a non-controlled substance with
         intent to distribute, along with a misdemeanor
         conviction for escape from the same date;

     (4) a September 28, 2001 felony conviction for theft
         by taking and a misdemeanor conviction for
         obstruction of a law enforcement officer from the
         same date;

     (5) two September 27, 2004 felony convictions for
         possession of cocaine, a misdemeanor conviction
         for obstruction of a law enforcement officer, and
         a probation revocation from the same date.

     Federal Rule of Evidence 609 requires the admission of

prior crimes of a witness who is not a defendant, if punishable

by death or for imprisonment for more than one year, to attack a

witness's character for truthfulness. If the crime was not

punishable by death or by imprisonment for more than one year,

it may be admitted "if the court can readily determine that

establishing the elements of the crime required proving—or the

witness's admitting—a dishonest act or false statement." Id.

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  The Court notes that the Government has stated that it "has no
information that the witness was convicted of these offenses,
represented by counsel, nor sentenced to any period of
incarceration." (Doc. 91 at 2.) In order for these charges to be
admissible at trial, the Court requires proof of these
convictions and the date that the witness was released from
confinement. While the Court makes no ruling at this time,
Defendant is on notice that affirmative evidence of these
convictions is necessary prior to using them for impeachment.
See Hollins v. City of Milwaukee, 574 F.3d 822, 829 (7th Cir.
2009) (court within its discretion to exclude evidence of
unproven allegations).
                                    VA
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However, for crimes where "more than 10 years have passed since

the witness's conviction or release from confinement," the

conviction is admissible only if

     (1) its probative value, supported by specific facts
         and circumstances, substantially outweighs its
         prejudicial effect; and

     (2) the proponent gives an adverse party reasonable
         written notice of the intent to use it so that
         the party has a fair opportunity to contest its
         use.

Fed. R. Evid. 609(b).

     As an initial matter, the United States does not object to

the cross-examination of Mr. Bruce on the September 28, 2001

convictions for felony possession of cocaine and felony

possession of a non-controlled substance with intent to

distribute and the two September 27, 2004 convictions for felony

cocaine possession. (Doc. 91 at 4.) Accordingly, Defendant

request is GRANTED as to those convictions. The Government does

object to the introduction of the remaining charges on the basis

that they fall outside the ten-year window. (Id.) The Government

argues that Defendant has not demonstrated that the offenses

involved dishonest conduct, and that their probative value,

supported by specific facts and circumstances, substantially

outweighs their prejudicial effect. (Id.) However, the Court

concludes that Larron Bruce's prior convictions meet these

requirements.


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       Larron Bruce's prior convictions are likely to be highly

probative as to his credibility and unlikely to be outweighed by

any prejudice. Mr. Bruce has several crimes that directly

implicate his truthfulness, including a false report of a crime,

the giving of false information to a law officer, obstruction of

law enforcement, criminal trespass, and escape. 2 While these

crimes fall outside the 10-year window of Rule 609(b), each of

these charges have a direct relationship to the truthfulness of

Mr. Bruce's testimony. See Olin Corp. v. Certain Underwriters at

Lloyd's London, 468 F.3d 120, 135 (2d Cir. 2006)              ("[A] witness

may be impeached with evidence of a prior conviction that

involves dishonesty or false statement, as a conviction for

submitting false reports clearly does.") . Moreover, all but one

of those crimes involve or are related to drug convictions, most

notably for cocaine—the subject matter of the instant case. See

United States v. Pritchard, 973 F.2d 905, 909 (11th Cir. 1992)

    (no error in allowing government to impeach defendant on

thirteen year old burglary conviction when defendant was charged


'Fed. R. Evid. 609(a) (2) advisory committee's note to 2006
 See
amendment ("Evidence of crimes in the nature of crimina falsi
must be admitted under Rule 609(a) (2), regardless of how such
crimes are specifically charged. For example, evidence that a
witness was convicted of making a false claim to a federal agent
is admissible under this subdivision regardless of whether the
crime was charged under a section that expressly references
deceit (e.g., 18 U.S.C. § 1001, Material Misrepresentation to
the Federal Government) or a section that does not (e.g., 18
U.S.C. § 1503, Obstruction of Justice).").
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with robbery) . The charge for theft by taking occurred along

with an obstruction charge (Doc. 91 at 2) and is therefore

relevant to provide context. Finally, the testifying witness is

not on trial. Indeed, Defendant's counsel is seeking to include

this evidence in the record. As a result, it is unlikely that

the jury will "improperly consider the [crimes] as evidence that

[Defendant] committed" the offenses charged. Id. It is the

Court's opinion, therefore, that all prior convictions noticed

by Defendant as to Mr. Bruce are admissible because their

probative value substantially outweighs their prejudicial

effect. Accordingly, Defendant's motion (Doc. 85) is GRANTED.

               SO ORDERED this    /c— day of May 2016.




                                 WILLIAM T. MOORE, JR...-"
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA




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